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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
              v.                                 :       Case No. 21-CR-6 (TJK)
                                                 :
                                                 :
DOUGLAS AUSTIN JENSEN,                           :
                                                 :
                                                 :
                          Defendant.             :

              UNOPPOSED MOTION TO CONTINUE SEPTEMBER 24, 2021
                      STATUS CONFERENCE FOR 30 DAYS

       The United States of America, by and through its attorney, the Acting United States

Attorney for the District of Columbia, hereby moves this Court to grant its Motion to Continue

September 24, 2021 Status Conference for 30 days. The Government further moves move the

Court to exclude the period of the continuance from the computation of time under the Speedy

Trial Act. In support of this motion, the Government states as follows:

       1.          On September 2, 2021, the Court held a hearing in this case regarding the

Government’s Motion to Revoke Defendant’s Pretrial Release. At the hearing, the Court granted

the Government’s motion and ordered the defendant remanded.

       2.          Since that hearing, the defendant has been in transit from Iowa to the District of

Columbia. As a result, defense counsel has not been able to communicate with the defendant.

       3.          While the defendant was originally supposed to arrive in the District of Columbia

the week of September 20, 2021, undersigned counsel learned on September 21, 2021 that the

defendant did not arrive as planned, and that the defendant is still being transported by the

United States Marshals Service to the District of Columbia.
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       4.      The Government has continued to produce discovery to the defendant, including

hours of surveillance footage, as well as approximately 50 body worn camera (BWC) videos that

depict the defendant’s altercation with law enforcement officers in the Rotunda on January 6,

2021, from several different vantage points.

       5.      Defense counsel has not been able to review this newly provided discovery with

his client, nor has defense counsel been able to review the terms of the current plea offer with the

defendant.

       6.      Defense counsel does not oppose the filing of this motion or the exclusion of time

under the Speedy Trial Act. However, because defense counsel has not been able to

communicate with his client, he is unable to provide the defendant’s position on the proposed

continuance and the exclusion of time under the Speedy Trial Act.

       7.      Given the government’s recent production of voluminous discovery, which

includes over 25 hours of surveillance and BWC video, defense counsel’s need to review the

discovery and current plea offer with the defendant, and the reasonable time necessary for

effective preparation by all parties taking into account the exercise of due diligence, the failure to

grant such a continuance in this proceeding would be likely to make a continuation of the

proceeding impossible, or result in a miscarriage of justice. Accordingly, the ends of justice

served by granting a request for a continuance outweigh the best interest of the public and the

defendant in a speedy trial.




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      WHEREFORE, for the foregoing reasons, the Government respectfully requests that the

Court grant this Motion to Continue September 24, 2021 Status Conference for 30 days, and

further request that the Court exclude the period from September 24, 2021 until the next status

conference in this case from the computation of time under the Speedy Trial Act.


                                              CHANNING PHILLIPS
                                              Acting United States Attorney
                                              D.C. Bar No. 415793


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